                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

 AMERICAN COLLEGE OF                        )
 PEDIATRICIANS, on behalf of                )
 its members, et al.,                       )
                                            )
              Plaintiffs                    )
                                            )
 v.                                         )     No.:   1:21-CV-195-KAC-SKL
                                            )
 XAVIER BECERRA, in his official            )
 capacity as Secretary of the United        )
 States Department of Health and            )
 Human Services, et al.,                    )
                                            )
              Defendants.                   )


                                ORDER OF RECUSAL

       Pursuant to 28 U.S.C. § 455, the undersigned judge hereby recuses herself in this

 matter.

       IT IS SO ORDERED.

                                            s/ Katherine A. Crytzer
                                            KATHERINE A. CRYTZER
                                            United States District Judge




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